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F. #2000R0262 bot mand
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK J
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UNITED STATES OF AMERICA SUPERSEDING
INDICTMENT
- against -
Cr. Ne. 00-1248 (5-2) (NGG)
JONATHAN WINSTON, ‘ (T. 15, U.S.C.,
JASON COHEN, §§ 784 {b) and 78E£E;
HUNTER ADAMS, T. 21, U.S.C., § 853:
MICHBEL REITER, T. 18, U.S.C., $$ 371,
GREGG ADAMS, 982, 1342, 1343,
ALAN BERKON, . 1956(a) (1) (AY (4),
JAMES BILA, 1956(a) (1) (B} i},
LEONARD BILA, 1956 (a} (2) (B) (4),
CHRISTIAN BLAKE, 1956 (h),
BRIAN CARROLL, 1957 (a) (1) (A) (i),
JOSEPH DIGIROLAMO, . 2 and 3551 et seq.)

JONATHAN DONESON,
RUSSELL EHRENS,
LOUIS FPACCHINI, UR.,
JOHN FERRARO,
DAVID HIRSCH,
DAVID LAVENDER,
ROBERT LISNOFF,
ROBERTO MANGIARANG,
JOSEPH MANNING,
DAVID MARGULES,
DAVID PESSO,
ANTHONY SCALA and
ROBERT WINSTON,

Defendants.

THE GRAND JURY CHARGES;

 
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" IntRopUcTION **.*

The Broke @ Fir

1. From approximately February 1994 through March
1958, Pirst United Equities Corporation (“First United} was a
broker-dealer of securities registered with the United States
Securities and Exchange Commission (“SEC") and the National
Association of Securities Dealers, Inc. wasn’). First United’s
principal office was located at 300 Garden City Plaza, Suite 518,
Garden City, New York, First United's other offices were located
in New York, New York and in Woodbridge, New Jersey. First
United underwrote initial public offerings of securities
(“TPOs"), was a “market maker” in various securities, and offered
a variety of brokerage services to retail customers. A market
maker" facilitates trading in a security by setting price
quotations and holding themseives out 4s prepared to buy and sell
certain quantities of the security for their own account. First
United employed traders, who purchased and sold securities for
First United's own accounts and assisted First United in making

markets in:securities. First United also employed stock brokers,

also referred to as “registered representatives,” who sold

securities to Clients of First United. First United employed as

many as approximately 40 brokers.

 
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2, In or about October 1986, a,group of individvals
associated with First United formed AGS Financial Group, a
broker-dealer of securities registered with the SEC and the NASD.
AGS Financial Group's principal office was located at 208 South
LaSalle Street, Suite 2059, Chicago, Illinois, AGS Financial
Group also had an office located at 541 Lexington Avenue, New
York, New York. AGS Financial Group was a "market maker" in
various securities and offered a variety of brokerage services to
retail customers. AGS Financial Group employed traders and stock
brokers. |

3. On or about April 1, 1997, a@ group of individuals
associated with First United formed Lexington Capital, a broker-
dealer of securities registered with the SEC and the NASD,
Lexington Capital‘s principal office was located at 1300 Veterans
Memorial Highway, Hauppauge, New York. Lexington Capital was a
"Market maker" in various securities and offered a variety of
brokerage services to retail customers. Lexington Capital
employed traders and stock brokers.

4. In or about August i998, Lexington Capital changed
its name to Preston Langley Asset Management, Inc. (“Preston
Langley”}, and continued to operate as a broker-dealer of
securities registered with the SEC and the NASD. Preston

Langley's principal office was re-located to 48 West 38th Street,

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New York, New York. preston Langley was a'market maker" in | a i
various securities and offered a variety of brokerage services to
retail customers. “Preston Langley employed traders and stock
brokers. As a condition of its membership in the NASD, Preston
Langley agreed that it would not solicit clients to purchase
“penny stock securities." "Penny stock securities" are stocks
that trade below $5.00, and are considered as a group to
generally be more volatile and riskier investments than stocks
trading at higher prices.

5... In or about January 1998, individuals associated
with First United and Lexington Capital acquired Stockton

Equities Group (“Stockton Equities”), 4 broker-dealer of

securities registered with the SEC and the NASD. Stockton

Equities’ principal office was located at 707 Broadway, San

: Diego, California and its. branch office was located at. 1 World

Trade Center, New York, New York. Stockton Equities was a

wnarket maker" in various securities and offered a variety of

‘brokerage sexvices to retail customers. Stockton Equities

employed traders and stock brokers.

6. In or about October 1998, individuals associated
with First United acquired Montrose Capital Management Lid.
("Montrose Capital"), a broker-dealer ef securities registered

with the SBC and the NASD. Montrose Capital's principal office

 
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wag located at 40 Wall Street, New York, New kK. Montrose
Capital was a “market makex" in various securities and offered a
variety of brokerage services to retail customers. Montrose
Capital employed traders and stock brokers.

The ageme of the Brokerage Firms

?. From approximately February 1994 through Merch
1998, the defendants JONATHAN WINSTON and JASON COHEN were
registered with the NASD as principals of Fixst United. In this
capacity, JONATHAN WINSTON and JASON COHEN were authorized to
manage and supervise First United’s traders and brokers. The
defendant HUNTER ADANS was an undisclosed and unregistered
principal of First United. JONATHAN WINSTON, JASON COHEN and

HUNTER ADAMS managed First United, including its traders and

brokers...

8. From approximately October 1996 through March
1998, the defendants JONATHAN WINSTON and HUNTER ADAMS, acting as
undisclosed and unregistered principals of AGS Financial Group,
' Tanaged and supervised AGS Financial Group and its traders and
brokers without being licensed by the NASD to do so.

o. From approximately April 1997 through August

i¢88, the defendants HUNTER ADAMS, GREGG ADAMS and ROBERTG
MANGIARANO, acting as undisclosed and unregistered principals of

Lexington Capital, managed and supervised Lexington Capital and

 
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its traders and brokers without being licensed by the NASD to do’
50,

10, From approximately August 1998 through March 2001,
the defendant ROBERT LISNOFF was a registered principal of
Preston Langley. Defendants GREGG ADAMS, CHRISTIAN BLAKE and
JAMES BILA, acting as undisclosed and unregistered principals of
Preston Langley, along with LISNOFF, managed and supervised
Preston Langley and its traders and brokers without being
licensed to do so by the NASD. The defendant HUNTER ADAMS vas
also an undisclosed principal of Preston Langley.

il. From approximately February 1998 through May 2001,
the defendant JONATHAN DONESON was registered with the NASD as a
principal of Stockton Equities. From approximately May 1999
“through October 1999, the defendant RUSSELL EHRENS was registered
“with the NASD as a principal of Stockton Equities. As
principals, DONESON and BEHRENS were authorized to manage and
supervise Stockton Equities’ brokers. The defendant ROBERTO
MANGIARANO was an undisclosed and unregistered principal o£ |
stockton Equities. EHRENS was responsible for the day to day
operations of Stockton Equities’ New York branch office. The

defendants MANGIARANO and DOWESON: were responsible for the

overall management of Stockton Equities' principal office in San

 
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Diego. The defendant HUNTER ADAMS was also an undisclosed
principal of Stockton Equities.

12. From approximately December 1998 through February
2001, the defendants JONATHAN WINSTON and ROBERT WINSTON were
undisclosed and unregistered principals of Montrose Capital.
ROBERT WINSTON managed and supervised Montrose Capital and its
traders and brokers without being licensed to do so by the NASD.
The Defendants | .

13. The defendant JONATHAN WINSTON, in addition to
being a registered principal and owner of record of First United
and an undisclosed principal of AGS Financial Group and Montrose
Capital, was a registered representative of First United from
approximately February 1994 through December 1997. JONATHAN

WINSTON was identified in filings with the NASD as Vice Chairman

' of First United,

14. The defendant JASON COHEN, in addition to being a
registered principal and owner ef record of First United,. was a
registered representative of First United from approximately
‘February 1994 through December 1997, JASON COHEN was identified
in filings with the NASD as Chairman of the Board of First
United.

1s. The defendant HUNTER ADANS, in addition to being

an undisclosed principal of First United, Lexington Capitai and

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AGS Financial Group, was a registered repfesentative of First
United from approximately June 1935 through December 1996,
HUNTER ADAMS was an associate of the Gambino Organized Crime
Family. |
16. The defendant MICHAEL REITER was an associate of

the Gambino Organized Crime Family and a promoter of several
stocks of which First United was a market maker.

17, The defendant GREGG ADAMS is the brother of the
defendant HUNTER ADSMS and was a registered representative of
First United from approximately April 1995 through April 1997,
and a registered. representative of Lexington Capital and Preston
Langley from approximately April 1997 through March 2001. GREGG
ADAMS was an undisclosed owner of Lexington Capital and a

registered owner of Preston Langley.

18. The defendant ALAN BERKUN was a registered
principal and owner of record of Lexington Capital and Marlowe &
Co., the predecessor company of Lexington Capital, and was a
registered representative of Lexington Capital and Preston

Langley from approximately April 1997 through January 1994,

19. The defendant CHRISTIAN BLAKE was a registered

representative of First United from approximately May 1995

through May 1997 and a registered representative of Lexington

Capital and Preston Langley from approximately August 1997

 
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through March 2001. While employed at Lexington Capital and "
Preston Langley, BLAKE acted in the capacity of a sales manager.
20. The defendant JAMES BILA was a tegistered
representative of First United from approximately dune 1985
through April 1997 and a registered representative of Lexington
Capital and Preston Langley from approximately April 1997 through
March 2001. While employed at Lexington capital and Preston

Langley the defendant JAMES BILA acted in the capacity of a sales

manager.

21. The defendant LEONARD BILA is the brother of the
defendant JAMES BILA and was #& registered representative of First
United from approximately June 1995 through April 1937 and a
registexed representative of Lexington Capital and Preston |
Langley from approximately April 1887 through March 2001.

22. The defendant BRIAN CARROLL was a’ registered
representative of Lexington Capital and Preston Langley from
approximately August 1997 through March 2001.
| 23. The defendant JOSEPH DIGIROLAMO was a registered
vepresentative of Lexington Capital and Preston Langley from

approximately August 1997 through March 2001.

24. The defendant JONATHAN DONESON, in addition to

being & registered principal and owner of record of Stockton

 
Equities, was a registered representative of Stockton Equities,
from approximately February 1998 through May 2001.

25. The defendant RUSSELL EHRENS, in addition to being
a registered principal of Stockton Bquities, was a registered
representative of Stockton Equities from approximately May 199%
through October 1999.

26. The defendant LOUIS FACCHINI, JR., was a
registered representative of First United from: approximately
September 1995 through duly 1996.

27. The defendant JOHN FERRARO was a registered
representative of Montrose Capital from approximately December

1998 through May 2000.

3B. The defendant DAVID HIRSCH was a registered
representative of First United from approximately January 1995
. through ‘March 1998.. While employed by First United, HIRSCH was
identified in filings with the NASD as its Sales Manager.

29, The defendant DAVID LAVENDER was a registered
representative of Stockton Equities, in its New York pranch
office, from approximately February 1999 through August 1999,

30. The defendant ROBERT LISNOFF, in addition ta being
a registered principal and owner of record of Freston Langley,
was a registered representative of Lexington Capital and Preston

_Langley from approximately April 1997 through March 2001.

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31. The defendant ROBERTO "MANGEARANO, in addition to
being a undisclosed principal of Lexington Capital and Stockton
Equities, Was a registered representative of First United from
approximately March 1995 through April 1937, a registered
representative of Lexington Capital from approximately June 1997
through February 1998, and a registered representative of

Stockton Equities, from approximately February 1998 through March

2001.

32. The defendant JOSEPH MANNINO was a registered

representative of First United from approximately March 1995
through April 1997 and a registered representative of Lexington

Capital and Preston Langley from approximately May 1997 through

May 2001.
33. The defendant DAVID MARGULES was a registered

- representative of First United from approximately June 1997 .
through October 1997,
34. The defendant DAVID PESSO was a registered

representative of First United from approximately May 1995

through September 1996.

35. The defendant ANTHONY SCALA was a registered
representative of Stockton Equities, in its New York branch

office, from approximately March 1999 through August 1399,

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36. The defendant ROBERT WINSTON is the brother of the
defendant JONATHAN WINSTON and was a registered representative of
First United from approximately April 1996 through November 1997
and was a registered representative and undisciosed principal of

Montrose Capital from approximately December 1998 through

February 2001,

The Frava Scheme
37. The defendants JONATHAN WINSTON, JASON COHEN,

HUNTER ADAMS, MICHAEL REITER, GREGG ADAMS, ALAN BERKON, JAMES -
SILA, LEONARD BILA, CHRISTIAN BLAKE, BRIAN CARROLL, JOSEPH
DIGIROLAMO, JONATHAN DOWESON, RUSSELL EHRENS, LOUIS FACCHINI,
JR., JOHN FERRARO, DAVID HIRSCH, DAVID LAVENDER, ROBERT LISNOFF,
ROBERTO MANGIARANO, JOSEPH MANNING, DAVID MARGULES, DAVID PESSO,
ANTHONY SCALA and ROBERT WINSTON, together with others,
“participated in a scheme to manipulate the market price of stock
and stock warrants that traded on the NASDAQ National Market
System (“NASDAQ”), the NASDAQ Small Capitalization stock market,
the Over-the-Counter Bulletin Board stock market, the American
Stock Exchange and the Philadelphia Stock Exchange, and engaged
in other deceptive sales practices with réspect to public
consumers. |

36. From approximately August 1995 through August

1998, the defendants JONATHAN WINSTON, JASON COHEN, HUNTER ADAMS,

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; , e 6 : :
MICHAEL REITER, GREGG ADAMS and ROBERTO MANGIARANO, together with —
others, arranged for First United and Lexington Capital to
acquire control over large blocks of stock and'stock warrants of
various thinly capitalized, start-up companies (hereinafter
referred to as “First United House Stocks”). JONATHAN WINSTON,
JASON COHEN and HONTER ADAMS, together with others, acquired
shares of the House Stocks for little or no consideration,
usually by paying kickbacks or prearranging trades with those who
contvolled the House Stocks. JONATHAN WINSTON, JASON COHEN,
HUNTER ADAMS, REITER, GREGG ADAMS and MANGIARANO, together with
others, owned and controlled their shares of First United House
Stocks in accounts in names other than their own (referred ta
herein as “nominee accounts”).

39, From approximately February 1998 through March
2001, the defendants HUNTER ADBMS;. GREGG ADAMS, ALAN BERKUN,
JONATHAN DONESON, ROBERTO MANGIARANO and RUSSELL EHRENS, together
with others, arranged for Preston Langley and Stockton Equities
to acquire control over large blocks of stock of various thinly
capitalized start-up companies (hereinafter referred to as
“Preston Langley House Stocks”). HUNTER ADAMS, GREGG ADAMS,
ROBERTO MANGIARANO and JONATHAN DONESON, and others, placed their
shares of Preston Langley House stocks in nominee accounts and

sold them to customers of Preston Langley and Stockton Equities.

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40, From approximately April 1998 through February
2001, the defendants JONATHAN WINSTON and ROBERT WINSTON,
together with others, acquired control over large blocks of stock
of various thinly capitalized start-up companies (hereinafter
referred to as "Montrose Capital House Stocks"). JONATHAN
WINSTON, ROBERT WINSTON and others placed their shares of
Montrose Capital House Stock in nominee accounts and sold them to
customers of Montrose Capital.

4l. The First United House Stocks, each followed by
the abbreviation used in connection with public trading of the
stock, included, among ethers, the following:

a. Ashton Technology Group, Inc., “ASTN”
(hereinafter referred to as “Ashton’}; . |

b. EquiMed, Inc., “EOMD” {hereinafter referred ta

‘as “EquiMed”);
| ¢. IRT Industries, Inc., “IRTG* (hereinafter
referred to as “IRT“);
a. Mama Tish’s Italian Specialties, Inc., “MAMA”

(hereinafter referred to as “Mama Tish's"); and

e. National Medical Financial Services

Corporation, “NMFS” (hereinafter referred to as “National

Medical”).

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42. The Preston Langley House Stocks, each followed by
the abbreviation used in connection with public trading of the
stock, included, among others, the following:

a. Americom Networks International, Ine., “ANIW*

{hereinafter referred to as “Americom"}); and

b. Global Ece-logical Services, Inc., “GBLE”
(hereinafter referred.to as “Globai”).
43. The Montrose Capital House Stocks, each followed
by the abbreviation used in connection with public trading of the
stock, included, among others, the following:

a. Osage Systems Group, Inc., "OSE" (hereinafter

referred to as "Osage"}; and

b. Skynet Holdings Ine., "SKYN" (hereinafter

referred to as "Skynet"); and

ow G.. -CNE. Technologies int., "CNET" (hereinafter
- referred to as "CNET"). |
44. After acquiring control of the Fixst United and
Preston Langley and Montrose Capital House Stocks thereinafter
referred to collectively as "House Stocks"), the defendants
JONATHAN WINSTON, JASON COHEN, HUNTER ADAMS, MICHAEL REITER,
GREGG ADAMS, ALAM BERKUN, JAMES RILA, LEONARD BILA, CHRISTIAN
BLAKE, BRIAN CARROLL, JOSEPH DIGIROLAMO, JONATHAN DONESON,

_ RUSSELL EHRENS, LOUIS FACCHINI, JR., JOHN FERRARO, DAVID HIRSCH,.

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DAVID LAVENDER, ROBERT LISNOFF, ROBERTO MANGIARANO, JOSEPH
MANNING, DAVID MARGULES, DAVID PESSO, ANTHONY SCALA and ROBERT
WINSTON, together with others, created artificial market demand
for the purpose of inflating the price cf House Stocks. Amang
other manipulative means, the defendants, together with others:
{1} made and caused to be made materially false and fraudulent
yepresentations to retail customers in order to induce those
customers to purchase House Stocks; (ii) used and caused to be
used high pressure and deceptive sales tactics in order to induce
retail customers to purchase House Stocks; (113) paid and
accepted excessive, undisclosed commissions and sales credits toa’
recommend and sell House Stocks, including allocations of House
Stock, cash payments, and other items of value; {iv) made and
caused to be made unauthorized trades in retail customer
accounts; (v) operated an unregistered branch office. of .First
United in Weoedbridge, New Jersey; (vi) authorized unregistered
brokers and cold callers routinely to misrepresent to customers
‘that they were registered brokers when selling Howse stocks; and
{vii} instituted, implemented and failed to reveal to retail
customers a policy in which a sale of a House stock would be

executed only if it could be "crossed" or matched with a purchase

o£ the same stock by another customer.

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45. The high pressure and deceptive sales tactics used
by brokers at First United, Lexington Capital, Preston Langley,
Stockton Equities and Montrose Capital included, among others,
the following: (a} recommending a well-known and established non-
House Stock to potential new customers to lure them to open an
account and then inducing them to purchase House Stocks; (b)
forecasting enormous returns on investments without a reasonable
basis for doing so; {c) luring customers to buy or hold House
Stocks by promising that the customer would be allowed to
participate in future lucrative private placements, bridge loans
and initial public offérings; and (d} verbally abusing customers

who resisted advice ta buy or hold House Stocks.

46. When the pxice of the First United House Stocks
rose as a result of these unlawful techniques, the defendants
-- JONATHAN. WINSTON, JBRSON COHEN, HUNTER ADAMS, MICHAEL REITER,
GREGG ADAMS, ROBERTO MANGIARANO, together with others, sold their
shares of First United House Stocks at a substantial profit from
nominee and other accounts to First United’s and Lexington
 Capital’s customers. First United and Lexington Capital also
obtained a percentage of the proceeds of these sales of First

United House Stocks and used this money to further the fraudulent

scheme,

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47. When the price of the Preston Langley House Stocks
rose as a result of these unlawful techniques, the defendants
HUNTER ADAMS, GREGG ADAMS, ALAN BERKUN, JONATHAN DONESON, RUSSELL
EHRENS and ROBERTO MANGIARANO, together with others, sold their
shares of Preston Langley House Stocks at a substantial profit
from nominee and other accounts to Preston Langiey's and Stockton
Eguities' customers, Preston Langley and Stockton Equities alse
obtained a percentage of the proceeds of these sales of Preston

Langley House Stocks and used this money to furthex the

fraudulent scheme.

46, When the price of the Montrose Capital House Stock
rose as a result of these unlawful techniques, the defendants
JONATHAN WINSTON and ROBERT WINSTON, together with others, solid
their shares of Montrose Capital House Stocks at @ substantial
. profit from'nominée and other accounts to Montrose Capital's
customers. Montrose Capital alse obtained a percentage of the
proceeds of these sales of Montrose Capital House Stocks and used

this money to further the fraudulent scheme.
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49. The defendants and other participants in the
scheme sought to maintain the price of the House Stocks held by
the customers of First United, Lexington Capital, Preston
Langley, Stockton Equities and Montrose Capital so that the

scheme would go undetected and a large reservoir of their

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customers could be solicited again in the future to purchase
artificially inflated House Stocks.
50. The defendants JONATHAN WINSTON, JASON COHEN,
HUNTER ADAMS, MICHAEL REITER, GREGG ADAMS, ALAN BERKUN, JAMES
BILA, LEONARD BILA, CHRISTIAN BLAKE, BRIAN CARROLL, JOSEPH
DIGIROLAMO, JONATHAN DONESON, RUSSELL EHRENS, LOUIS FACCHINI,
JR., JOHN FERRARO, DAVID HIRSCH, DAVID LAVENDER, ROBERT LISNOFF,
ROBERTO MBNGIARANO, JOSEPH MANNINO, DAVID MARGULES, DAVID PESSO,
ANTHONY SCALA and ROBERT WINSTON, together with others,
artificially maintained the price of the House Stocks by a
variety of techniques designed to insulate the House Stocks from
the adverse pressure of a lack of genuine market demand, which
would cause the stock price to collapse. These techniques
included, among others, the following: fa) using high-pressure
‘tactics and materially false and misleading statements to
persuade customers not to sell House Stocks; {ob} failing to take
and execute customer orders to sell House Stocks; (c} executing a
sale of House Stocks only if it could be “crossed® or matched
with a purchase of the same stock by another customer; (d)
manipulating the order and timing of the execution of trades in
the House Stocks; (e) threatening and causing bodily harm to
brokers who would not further the fraudulent scheme by selling

House Stocks ta customers; and (ff) threatening individuals with

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bodily harm unless they ceased engaging in transactions that had
the effect of causing the price of the House Stocks to decrease,
such as "short-selling" the House Stocks. "“Short-selling" is a
means for selling stock that a seller does not yet own, but will

purchase in the future, at a price at which the stock tyades on

that future date.

51. None of these manipulative techniques and unlawful
sales practices was disclosed to customers at the time of their
purchase of the House Stocks or thereafter because disclosure
would have revealed the undesirability ef the House Stocks and

would have jeopardized the success of the fraudulent scheme.

52, Bs a result of the above-described frandulent
scheme, the defendants and other participants in the fraud scheme
obtained tens of miliions of dollars in profits.

The Stocks Tnvolved in.the Fraud Scheme

53, National Medical was a First United House Stock
issued pursuant to an initial pubiic offering on or about August
3, 1895, underwritten by First United and other securities firms
{the sNational Medical IPO”) . The defendants JONATHAN WINSTON,
JASON COHEN and HUNTER ADANS and others structured the National
Medical IPO so that their undisclosed allocation of the company’s

shares was given or sold at a nominal cost to their own nominees,

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to the nominees of favored First United brokers, and to other |
individuals affiliated with First United,

94. Ashton was a House Stock issved pursuant to an
initial public offering on or about May 5, 1996, underwritten by
First Onited and other securities firms {the “Ashton IPO"). The
defendants JONATHAN WINSTON, JASON COHEN and HUNTER ADAMS and
ethers structured the Ashton IPO so that their undisclosed
allocation of the company’s shares was given or sold at.a nominal
cost to their own nominees, to the nominees of favored First
United brokers, and to other individuals affiliated with First
United.’

55. Mama Tish's was a First United House Stock issued
pursuant to an initial public offering on or about November 8,
1396 underwritten by First United, AGS Financial Group and other
> Securities firms (the “Mama Tish’s IPO”). The defendants
JONATHAN WINSTON, JASON COHEN, HUNTER ADAMS and others structured
the Mama Tish’s FPG so that their undisclosed allocation of the
company’s shares was given or sold at a nominal cost to their own
nominees, to the nominees of favored First United brokers, and to
other individuals affiliated with First United. A short while
‘after the Mama Tish’s IPO, the NASD halted trading in Mama Tish’s
stock and reversed all trades made in the stock. Trading

was neyer resumed in Mama Tish's stock.

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56, In or about January 1997, the defendants JONATHAN :
WINSTON, JASON COHEN and HUNTER ADAMS and others acquired EquiMed
stock for free or at a nominai cost. EquiMed’s President, Chief
Executive Officer ("CEO"} and majority shareholder was also the
founder and majority shareholder of National Medical.

o?. ain or about February 1997, the defendant MICHAEL
REITER, together with others, provided IRT stock for free or at a
nominal cost to the defendants JONATHAN WINSTON, JASON COHEN,
HUNTER ADAMS, GREGG ADAMS and ROBERTO MANGIARANO and others to.
enable First United and Lexington Capital to manipulate the price
of the stock through the unlawful techniques described above. In
exchange for the IRT stock, JONATHAN WINSTON, JASON COHEN, HUNTER
ADAMS, GREGG ADAMS, MANGIARANO and others agreed te pay REITER
and others a portion of the profits that were received from the
Sale of. IRT stock. JONATHAN WINSTON, JASON COHEN, HUNTER ' ADAMS
and others paid REITER and others their portion of the profits
through pre-arranged trades in IRT stock in the account of a
company called Apollo Equities Trading Corporation (“Apollo”) and
others. REITER received his portion of the profits by check from
the Apollo account. . |
58. In ox about May 1996, the defendants HUNTER ADAMS

and GREGG ADAMS, together with others, acquired Americom stock at

a nominal cost and placed it into nominee accounts to enable

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Preston Langley and Stockton to manipulate the price of the stock
through the unlawful techniques described above. At the time,
Americom was a "Penny Stock," and as such, the:NASD had forbidden
Preston Langley from soliciting their clients to purchase it. In
order to evade this restriction, HUNTER ADAMS, GREG ADAMS and
others artificially inflated the price of Americom stock to
approximately $5.00 per share, so Preston Langley could solicit
‘their clients to purchase Americom shares. HUNTER ADAMS, GREG
ADAMS and others accomplished this manipulation by means which
included the following: (a) creating the appearance of market
demand by bidding for and purchasing Americom stock for nominee
accounts at Salomon Smith Barney and M.Jd. Whitman; and {b) pre-

arranging transactions with other broker-dealers,

59, In or about and between February 1999 and August
i335, both dates being approximate and inclusive, the defendants
HUNTER ADAMS, GREGG ADAMS, ALAN BERKUN, JONATHAN DONESON, RUSSELL
EHRENS and ROBERT MANGIARANO, together with others, acquired
secret control of Global stock at a nominal cost-and Placed it in
nominee accounts to enable Preston Langley and Stockton to

manipulate the price of the stock through the unlawful techniques

described above,

60. In or about April 1998, the defendants JONATHAN

WINSTON and ROBERT WINSTON, together with others, acquired secret

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ROBERTO MANGIARANO, together with others, ‘Laundered tens of
millions of dollars of proceeds of securities, mail and wire
fraud with the intent to promote their fraudulent scheme and to
conceal and disguise the nature, location, source, ownership and
control of such proceeds.

64, One of the techniques the defendants JONATHAN
WINSTON, JASON COHEN and HUNTER ADAMS and others used to launder
money was to accumplate profits from the fraudulent scheme in a
nominee account at First United in the name of Antebe Investment

Group Ltd., and then to transfer the proceeds in this account to

overseas bank accounts.

65. The defendants JONATHAN WINSTON and JASON COHEN
and others also employed the technique of laundering money by
accumulating profits from the fraudulent scheme in JONATHAN
WINSTON'S and JASON COHEN’ S. brokerage account at Smith Barney,
account number 359-22655-10, and then transferring the proceeds
in this account to themselves and others involved in the scheme,
including the defendant HUNTER ADAMS, and to First United’s
trading, collateral and bank accounts to fund First United’s
brokerage activities.

| 66. Another technique the defendant JONATHAN WINSTON,
JASON, COHEN, HUNTER ADAMS and ROBERTO MANGIARANO and others used

to launder money was to establish nominee. accounts at First

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United, such as in the namés of E.M.RA Investment Group Ltd.
(“E.M.R.A.“), Univest Group Ltd. {“Univest”}, and Avalon
Pinancial LLC (“Avalon”), in order to disguise their ownership of
certain Ashton securities and other House Stocks, sell the
secretly owned Ashton securities and House Stocks to customers
and then transfer the proceeds in these accounts to themselves
and to accounts that they controlled.

67, The defendants JONATHAN WINSTON , JASON COHEN and
HUNTER ADAMS, together with others, also laundered money by
entering into undisclosed pre-arranged transactions with Apollo,
relating to National Medical, EquiNed, Ashton and IRT securities,
in order to generate profits in Apollo’s Pirst United account fer
payment to the defendant MICHAEL REITER and others. These
transactions were undertaken in order to compensate REITER ,and

others for assisting the fraud scheme by, among other, things, |
facilitating the transfer of clients from A.R. Baron & Co, Inc.
(“A.R, Baron”} to First United and providing IRT stock for free
or at a nominal cost.

68. The defendant HUNTER ADAMS also laundered money by
establishing nominee accounts at Pacific International Securities
("Pacific"), a broker-dealer based in Vancouver, Canada, in order
to disguise his ownership of certain Americom. and Global

securities, sell the secretly owned secuxities to customers and

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then transfer the proceeds in these accounts to himself and to

accounts that he cantrolled.

69. The defendants HUNTER ADAMS, GREGG ADAMS and ALAN
BERKUN and others also laundered money by accumalating profits
from the fraudulent scheme in brokerage accounts at Gruntal &
Co., in the name of EJR Associates, and at Patterson Travis Inc.,
in the names of BERKUN and EJR Associates, and then transferring
the proceeds in these accounts to themselves and others involved
in the scheme.

J0. The defendants HUNTER ADAMS and ALAN BERKUN also
laundered money by accumulating profits from the fraudulent
scheme in accounts at Chase Manhattan Bank and HSBC, in the names
of BERKUN and EJR Associates, and then transferring the proceeds
in these accounts to foreign bank accounts.

71, -The. defendant ALAN BERKUN also laundered money by
accumulating the profits from the fraudulent scheme in an account
in his name at Chase Manhattan Bank, and then using the proceeds
fo purchase rare collectible stamps.

72. The defendant JONATHAN WINSTON also laundered
money by establishing nominee accounts, in the name of Fincord
Holding Co. .Ine., at Bear Stearns Securities Corp., Ovick &
Reilly, and Founders Equity Securities, Inc. ("Founders Equity"),

ali broker-dealers registered with the SEC and NASD, in order to

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disguise and conceal his’ ownership of certain Osage, Skynet and }
CNET securities; to sell the secretly owned securities to
customers; and then to transfer the proceeds in these accounts to
other accounts that he controlled,

73. The defendant JOWATKAN WINSTON also laundered
money by accumulating profits from the fraudulent scheme in
accounts at Commercial Bank of New York, in the name of Fincord
Hoiding Co. Inc, ("Fincord"), and then transferring the proceeds

in these accounts to himself and others involved in the scheme.

COUNT ONE
(Conspiracy to Commit Securities, Mail and Wire Fraud}

74. The allegations contained in paragraphs 1 through
73 are realleged and incorporated herein.

75. In ox about and between February 1994 and March
2001, both dates heing approximate and inclusive, within the
Eastern District of New York and elsewhere, the defendants
JONATHAN WINSTON, JASON COHEN, HUNTER ADAMS, MICHAFL REITER,
GREGG ADAMS, ALAN BERKUN, JAMES BILA, LEONARD BILLA, CHRISTIAN
BLAKE, BRIAN CARROLL, JOSEPH DIGIROLANO, JONATHAN DONESON,
RUSSELL EMHREWS, LOUIS FACCHINI, dR., JOHN FERRARO, DAVID HIRSCH,
DAVID LAVENDER, ROBERT LISNOFF, ROBERTO MANGIARANOG,: JOSEPH

MANNINO, DAVID MARGULES, DAVID PESSO, ANTHONY SCALA and ROBERT

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WINSTON, together with others, did knowingly and willfully
conspire:

a. directly and indirectly, to'use and employ
Manipulative and deceptive devices and contrivances in viclation
of Rule 10b-5 of the Rules and Regulations of the SEC [Title l?,
Code of Federal Regulations, Section 240.10b-5), in that the
defendants, together with others, did knowingly and willfully
conspire, directly and indirectly, to {1} employ devices,
schemes, and artifices to defrand; {2) make untrue statements of
material fact and omitting to state material facts necessary in
order to make the statements made, in light of the circumstances
under which they were made, net misleading; and (3) engaging in
acts, practices, and courses of business which would and did
Operate as a fraud and deceit upon members of the investing
public, in connection with purchases and sales of the securities,
and by use of the means and instrumentalities of interstate
conmerce and the mails, in violation of Title 15, United States
Code, Sections 785 (b} and 78if;

b. to devise a scheme and artifice to defraud,
and to obtain money and property by means of materially false and
fraudulent pretenses, representations and promises, and for the
purpose of executing such scheme and artifice and attempting te

do so, to cause to be sent and delivered by the Postal Service,

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and by private or commercial interstate carrier, and to take and | |
receive therefrom, such matter and thing, according to the
directions thereon, and cause to be delivered by mail or such
carrier according to the direction thereon, and at the place at
which it is directed to be delivered, certain matters and things,
in violation of Sections 1341 of Title 18, United States Code;
and

c. to devise a scheme and artifice to defraud,
and to obtain money and property by means of materially false and
fraudulent pretenses, representations and promises, and for the
purpose of executing such scheme and artifice and attempting to
do so, to transmit and cause to be transmitted by means of wire
‘communication in interstate and foreign commerce, signs, signals,
and sounds, in violation of Sections 1343 of Title 18, United
States Code.

36. In furtherance of the conspiracy and to effect the
objects there of, within the Fastern District of New York and
elsewhere, the defendants named herein, together with others, did
commit and cause to be committed the following overt acts, among

ethers:

OVERT ACTS

a. In or about and between and June 1995 and, May

2, 1996, the defendants JONATHAN WINSTON, JASON COHEN and HUNTER

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ADAMS, together with others, arranged for Ashton warrants to be

placed in nominee accounts at First United.

b, On or about May 7, 1996, the defendants
JONATHAN WINSTON, JASON COHEN and HUNTER ADAMS, together with
others, caused” Antebe to) purchase 45,000 Ashton Units, each of
which consisted of one share of stock and one Warrant, at a price
of approximately $4.75 per unit.

ec. On or about May &, 1956, the defendants
JONATHAN WINSTON, JASON COHEN and HUNTER ADAMS, together with

others, caused Antebe to sei] 45,000 shares of Ashton stock at a

price of approximately $7.625 per share,

d. On or about May 8, 1996, & co-conspirator
caused to be mailed to a First United customer (“Customer No. 1")
a confirmation regarding that customer's purchase of

approximately 10,000 shares of Ashton stock.

é. On or about May 29, 1996, the defendants
JONATHAN WINSTON, JASON COHEN and RUNTER ADAMS, together with
others, caused Antebe to sell 45,000 Ashton warrants at a price
of approximately $8.375 per Warrant.

£f. On or about August 26, 1396, two ca-
conspirators caused a purchase of approximately 10,000 shares of

National Medical stock at a price of approximately $10.625 per

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share to be made in the account of a First United customer

i“Customer Ne. 2").

gq. In or about September 1996, the defendant
ROBERTO MANGIARANG refused to sell shares of National Medical as
instructed by a First United customer (“Customer No. 3").

h. On or about November 11, 1996, the defendant
JAMES BILA and a co-conspirator caused to he mailed to a First
United customer (“Customer No. 4") a confirmation reqarding that

customer's purchase of approximately 25,000 shares of Ashton

stock.

i. In or about March 1997, the defendants HUNTER
ADAMS, GREGG ADAMS, JAMES BILA, LEOWARD BILA, CHRISTIAN BLAKE,
JONATHAN DONESON, ROBERTO MANGIARANO and JOSEPH MANNINO, together
with others, met in Bayside, Queens, and discussed leaving First
United to purchase or form their own broker-dealer of securities.

j. On or about March 31, 1997, the defendant
HUNTER ADAMS, together with others, caused approximately $180,000
to be transferred from accounts he controlled at GreenPoint Bank

and Chase Manhattan Bank to an account at Citibank in the name of

a nominee.

k. On or about April 2, 1997, the defendant

HUNTER ADAMS, together with others, caused approximately $180,000

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to be wired from 4 nominee account aft Citibank to the defendant

ROBERTO MANGIARANG's account at the Bank of New York.

l. Cn or about April 3, 1997, defendant ROBERTO
MANGTARANO, together. with others, caused a cartified check to be

issued to purchase Marlowe & Co., a broker-dealer of securities,

which later became Lexington Capital -

m, In ox about April 1397, the defendants HUNTER
ADAMS, GREGG ADAMS, JAMES BILA, LEONARD BILA, CHRISTIAN BLAKE,
JONATHAN DONESON, ROBERTO MANGIARANO and JOSEPH MAWWIWO, together
with others, met in Uniondale, New York and discussed the

formation of Lexington Capital.

n. On or about June 20, 1997, the defendant JAMES
BILA caused to be mailed to a Lexington Capitel customer
(“Customer No. 5") a confirmation regarding that customer's
‘purchase of approximately 5,000 shares of IRT stock. at.a price of.

approximately $5.875 per share.

eo, On or about July 7, 1997, the defendant ROBERTO
MANGIARANO made 4 telephone call from Lexington’s Hauppauge, New
York, office to a Lexington Capital customer (“Customer No. 6}
in Ohio and induced that customer to purchase approximately
40,000 shaxes of IRT stock at a price of approximately $5 per

share,

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p. On or about duly 31, 1997, the defendant DAVID
MARGULES and a co-conspirator caused to be mailed to a First
United customer {“Customer No. 7") a confirmation regarding that
customer's purchase approximately 11,000 shares of IRT stock.

q. On er about June 25, 1998, the defendant
HUNTER ADAMS caused a nominee to purchase approximately 200
shares of Amexicom at a price of approximately $4.00 pex share in
the nominee's account at Salomon Smith Barney.

r. On or about June 26, 1996, the defendant
HUNTER ADAMS caused a nominee to purchase approximately 1,000
shares of Americom at a price of approximately $4.00 in the

nominee's account at M.J. Whitman.

s. On or about June 26, 1998, the defendant
“HUNTER ADAMS caused a nominee to purchase approximately 500
shares of~Americom shares at a price of approximately $5.00 in

the nominee's account at Salomon Smith Barney.

t. On or about July 6, 1998, the defendant HUNTER
ADAMS caused: approximately 112,000 shares of Americom to be

deposited into a nominee's account at Pacific.

wv: In or about July 1998, the defendants HUNTER
ADAMS, GREGG ADAMS and ALAN BERKUN, together with others, met at

BULAN BERKUN's 17 State Street, New York, New York, office and

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discussed the deposit of Americom stock in accounts maintained

and controlled by BERKUN.

vy. On or about July 7, 19598, the defendants
HUNTER ADAMS and ALAN BERKUN caused approximately 96,000 shares
of Americom that were held in the name of a nominee to be

transferrec to BERKOUN.

w. On or about October 14, 1958, the defendant

JONATHAN WINSTON and a co-conspirator caused approximately 10,000
shares of Osage stock to be purchased at a price of approximately
$5.91. in the Fincord account at Glenn Michael.

x. On or about February 19, 1998, the defendant
HUNTER ADAMS caused approximately 200,000 Globai shares to be

deposited into a nominee's account at Pacific.

y. On ox about April 28, 1999, the defendant ALAN
BEREKON caused approximately 62, 000 ‘shares’ of Global to be solid at
a price of approximately $6.00 per share from BERKUN's Gruntal

Account to Preston Langley’s trading account.

Z. On or about May 13, 1999, the defendant GREGG

ADAMS and a co-conspirator caused @ purchase of approximately
50,000 shares of Global stock at a price of approximately $7.50

per share to be made in the account ef a Preston Langley customer

{"Customer Woe. &"}.

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aa. On or about August 24, 1999, a co-conspirator
caused a purchase of approximately 16,000 shares of Americom
steck at a price of approximately $10.12 per share to be made in
the account of a Stockton Equities customer ("custoner No. 8").

bb. In er about Octcober 1999, the defendant
ROBERT WINSTON caused a purchase of appromimately 10,000 shares
of Skynet stock at a price of approximately $7.75 per share to he
made in the account of a Montrose customer ("Customer No. 10}.

ec. On ox about December 22, 1399 and December
23, 1999, the defendant JONATHAN WINSTON caused approximately
186,000 shares of Skynet stock at a price range of approximately

$7.25 to $7.71 per share to be sold from Fincord's account at

Bear Stearns.

dd. On or about December 23, 1999, the defendant

ROBERT WINSTON caused a purchase of approximately 104,000 shares... .

of Skynet stock at a price of approximately $7.69 to $7.75 per

share to be made in the account of a Montrose customer (“Customer

No. 11").

ee. On or about January 18, 2000, the defendants
ROBERT WINSTON and JOHN FERRARO caused a purchase of
approximately 7,500 shares of Skynet stock at a price of
approximately $7.91 per share to be made in the account of a

Montrose Capital customer ("Customer No, 12").

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FE. On or about January 26, 2000, the defendants
ROBERT WINSTON and JOHN FERRARO caused a purchase of
approximately 7,500 shares of Skynet stock at & price of

approximately $7.81 per share to be made in the account of

Customer Ne. 12.

gg. On or about February 22, 2000, the defendant
JOHN FERRARO caused an unauthorized purchase of approximately
4,500 shares of CNFT stock at a price of approximately $6.00 per

share to be madé in the account of a Montrose Capital customer

("Customer No. 13").

th. On or about February 22, 2000, the defendants

ROBERT WINSTON and JOHN FERRARO caused a'purchasé of
approximately 5,000 shares of CNFT stock at a price of

approximately $6.00 per share to he made in the account of a

Customer No. 1?- wee tl eee

ii. On or about March 10, 2000, the defendant
JOHN FERRARO caused a purchase of approximately 1,000 shares of
Skynet stock at.a price of approximately $6.44 pex share to be
made in the account of a Montrose Capital customer ("Customer No.
ua"). |
34. On or about April 5, 2000, the defendant

JONATHAN WINSTON caused approximately 75,000 shares of Skynet

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steck to be sold at approximately 35.74 per share from Fincord's

account at Founders Equity.

(Title 18, United States Code, Sections 371 and 3551 et

seq.)

COUNT TWO
(Securities Fraud - Ashton}

V2. The allegations contained in paragraphs 1
threugh 76 are realleged and incerporated as if fully set forth
herein. -

78. In or about and between May 1996 and March 1998,
both dates being approximate and inclusive, within the Eastern
District of New York and elsewhere, the defendants JONATHAN
WINSTON , JASON COHEN, HUNTER ADAMS, MICHBEL REITER, GREGG ADAMS,
JAMES BILA, CHRISTIAN BLAXE, LOUIS FACCHINI, JR., DAVID HIRSCH,
ROBERTO MANGIARANO, JOSEPH MANNING, DAVID MARGULES, DAVID PESSO
and ROBERT WINSTON, together with others, did knowingly and
willfully, dixectly and indirectly, use and employ manipulative
and deceptive devices and contrivances in violation of Rule 10h-5
of the Rules and Regulations of the SEC (Title 17, Code of
Federal Regulations, Section 240.10b-5), in that the defendants
and others did knowingly. and willfully, directly and indirectly, —

(a}- employ devices, schemes, and artifices to defraud; (b) make

untrue statements of material fact and omit to state material

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facts necessary in order to make the statements made, in light of
the circumstances under which they were made, not misleading: and
(c} engage in acts, practices, and courses of business which
would and did operate as a fraud and deceit upon members of the
investing public, in connection with purchases and sales of the

securities of Ashton, and by use of means and instrumentalities

of interstate commerce and the mails.
(Title 15, United States Code, Sections 78} (b) and
78ff; Title 18, United States Code, Sections 2 and 3551 et seq.)

COUNT THREE
(Securities Fraud - EquiMed)

79, -The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

BO. In or about and between August 1995 and April
1997, both» dates being approximate and inclusive, within the
Eastern District of New york and elsewhere, the defendants
JONATHAN WINSTON, JASON COHEN, HUNTER ADAMS, MICHAEL REITER,
GREGG ADAMS, JAMES BiLA, CHRISTIAN BLAKE, LOUIS FACCHINI, dUR.,;
DAVID HTRSCH, ROBERTO MANGIARANO, JOSEPH MANNINO, DAVID MARGULES,
DAVID PESSO and ROBERT WINSTON, together with others, did
knowingly and willfully, directly and indirectly, use and employ
Manipulative and deceptive deyices and contrivances in violation

of Rule 10b-5 of the Rules and Regulations of the SEC (ritle 1?,

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Code of Federal Redulations, Section 240.10b-5}, in that the
defendants and others did knowingly and wilifully, directly and
indirectly, (a} employ devices, schemes, and artifices to
defraud; {b) make untrue statements of material fact and omit to
state material facts necessary in order to make the statements
made, in light of the circumstances under which they were made,
not misleading; and (c} engage in acts, practices, and courses of
business which would and did operate as a fraud and deceit upon
members of the investing public, in connection with purchases and
Sales of the securities of EquiMed, and by use of means and
instxumentalities of interstate commerce and the mails.

(Title 15, United States Code, Sections 78)(b) and
T8fF; Title 18, United States Code, Sections 2 and 3551 et seg.)

COUNT FOUR
(Securities Fraud - National Medical)

81. The allegations contained in paragraphs 1 through
76 axe realleged and incorporated as if fully set forth herein.

B82. “tn or about and between August 1995 and April
1997, both dates being approximate and inclusive, within the
Bastern District of New York and elsewhere, the defendants
JONATHAN WINSTON, JASON COHEN, HOWTER ADAMS, MICHAEL REITER,

GREGG ADAMS, JAMES BILA, CHRISTIAN BLAKE, LOUIS FACCHINI, JR.,;

DAVID HIRSCH, ROBERTO MANGIARANO, JOSEPH MANNINO, DAVID MARGULES,

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DAVID PESSO and ROBERT WINSTON, together with others, did
knowingly and willfully, directly and indirectly, use and employ
manipviative and deceptive devices and contrivances in violation
ef Rule 10b-5 of the Rules and Regulations of the SEC (Title 17,
Code of Federal] Regulations, Section 240.10b~5), in that the
defendants and others did knowingly and willfully, directly and
indirectiy, fa} employ devices, schemes, and artifices to
defraud; (b) make untrue statements of material fact and omit to
state material facts necessary in order to make the statements
made, in light ef the circumstances under which they were made,
not misleading; and {c} engage in acts, practices, and courses of
business which would and did operate as a fraud and deceit upon
members of the investing public, in connection with purchases and
sales of the securities of National Medical, and by use of means
‘and instrumentalities of interstate commerce and the mails.
{Title 15, United States Code, Sections 78jib) and
78£Ff; Title 18, United States Code; Sections 2 and 3551 et seq.)

COUNT FIV
iSecurities Fraud - IRT Industries)

83. The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.
64. In or about and between February 1997 and August

1997, both dates being approximate and inclusive, within the

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Bastern District of New York and elsewhere, the defendants
JONATHAN WINSTON, JASON COHEN, HUNTER ADAMS, MICHAEL REITER,
GREGG ADAMS, JAMES BILA, CHRISTIAN BLAKE, LOUIS FACCHINI, JR.,
DAVID HIRSCH, ROBERTO MANGIARANO, JOSEPH MANNINO, DAVID MARGULES,
DAVID PESSO and ROBERT WINSTON, together with others, did
knowingly and willfully, directly and indirectly, use and employ
manipulative and deceptive devices and contrivances in violation
of Rule 10b-5 of the Rules and Regulations of. the SEC {Titie 17,
Code of Federal Regulations, Section 240.10b-5), in that the
defendants and others did knowingly and willfully, directly and
indirectiy, ta} employ devices, schemes, and axrtifices to
defraud; {b} make untrue statements of material fact and omit to
state material facts necessary in order to make the statements. |
made, in light of the circumstances under which they were made,
not misleading; and (c) engage in‘acts, practices, and courses of
business which would and.did operate as a fraud and deceit upon
members of the investing public, in connection with purchases and
sales of the securities of IRT Industries, and by use of means
and instrumentalities of interstate commerce and the mails.
{Title 15, United States Code, Section 784(b} and 78ff;

“Title 18, United States Code, Sections 2 and 3551 et seg.)

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(Securities Fraud ~ Americom}

85. The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

66. in or about and between July 1998 and August 1939,
both dates being appromimate and inclusive, within the Eastern
District of New York and elsewhere, the defendants HUNTER ADANS,
GREGG ADAMS, ALAN BERKUN, JAMES BILA, LEONARD BILA, CHRISTIAN
BLAKE, BRIAN CARROLL, JOSEPH DIGIROLAMO, JONATHAN DONESON,
RUSSELL EHRENS, DAVID LAVENDER, ROBERT LISNOFF, ROBERTO
MANGIARANO, JOSEPH MANNING and ANTHONY SCALA, together with
others, did knowingly and willfully, directly and indirectly, use
and employ manipulative and deceptive devices and contrivances in
violation of Rule 10b-5 of the Rules and Regulations of the SEC
(Title 17, Code of Federal Regulations, Section 240,10b-5}, in
that the defendants and others did knowingly and willfully, — -
directly and indirectly, (a} employ devices, schemes, and
artifices to defraud; (b) make untrue statements of material fact
and omit, to state material facts necessary in order to make the
statements made, .in light of the circumstances under which they
were made, not misleading; and (c} engage in acts, practices, and
courses of business which would and did operate @5 a fraud and

deceit upon members of the investing public, in connection with

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purchases and sales of the securities of Americom, and by use of
means and instrumentalities of interstate commerce and the mails.
“{Pitle 15, United States Code, Section 78j{(b} and 78ff;

Title 18, United States Code, Sections 2 and 3551 et seq.)

COUNT SEVEN
(Securities Fraud - Global}

87. The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

BR. In or about and between February 1999 and August
1999, both dates being approximate and inclusive, within the
Eastern District of New York and elsewhere, the defendants HUNTER
ADAMS, GREGG. ADAMS, ALAN BERKUN, JAMES BILA, LEONARD BILA,
CHRISTIAN BLAKE, BRIAN CARROLL, JOSEPH DIGIROLAMO, JONATHAN .
DONESON, RUSSELL EHRENS, DAVID LAVENDER, ROBERT LISHOFF, ROBERTO
MANGIARANO, SOSEPH MANNING and ANTHONY SCALA, together with
others, did Knowingly and willfully, directly and indirectly, use
and employ manipulative and deceptive devices and contrivances in
violation of Rulé 10b-5 of the Rules and Regulations of the 5mC
(Title 17, Code of Federal Regulations, .Section 240,10b-5}), in
that the defendants and others did knowingly and willfully,
‘directly and indirectly, {a} employ devices, schemes, and
artifices to defraud: (b) make untrue statements of material fact

and omit to state material facts necessary in order to make the

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statements made, in light of the circumstances under which they
were made, not misleading; and (c}) engage in acts, practices, and
courses of business which would and did operate as a fraud and
deceit woon members of the investing public, in connection with
purchases and sales of the securities of Global, and by use of
means and instrumentalities of interstate commerce and the maiis.

(Title 15, United States Code, Section Tbitb) and 7eirT;

Title 18, United States Code, Sections 2? and 3551 et sed.)

COUNT EIGER

(Securities Fraud - Osage)

89, The allegations contained in paragraphs i through
76 are realleged and incorporated as if fully set forth herein.

30. In or about and between April 1998 and February
2001, both dates being approximate and inclusive, within’ the
Eastern District of New York and elsewhere, the defendants
JONATHAN WINSTON, ROBERT WINSTON and JOHN FERRARO, together with
others, did knowingly and willfully, directly and indirectly, use
and employ manipulative and deceptive devices and contrivances in
violation of Rule 10b-5 of the Rules and Regulations of the SEC
(Title 17, Code of Federal Regulations, Section 240.10b-5), in
that the defendants and others did knowingly and willfully,
directly and indirectly, (a) amploy devices, schemes, and

artifices to defraud; (b) make untrue statements of material fact

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and omit to state material facts necessary in order to make the
Statements made, in light of the circumstances under which they
were thade, not misleading; and [(c} engage in acts, practices, and
courses of business which would and did operate as a fraud and
deceit upon members of the investing public, in connection with
purchases and sales of the securities of Osage, and by use of
means and instrumentalities of interstate commerce and the mails.
{Title 15, United States Code, Section 763(b) and 78fif;

Title 18, United States Code, Sections 2 and 3551 et seq. }

COUNT NINE

(Securities Fraud - Skynet}

91. The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

92. In or about and between November 1998 and February
2001, both dates being approximate and inclusive, within the
Eastern District of New York and elsewhere, the defendants
JONATHAN WINSTON, ROBERT WINSTON, and JOHN FERRARO, together with
others, did knowingly and willfully, directly and indirectly, use
and employ Manipulative and deceptive devices and contrivances in
violation of Rule 10b-5 of the Rules and Regulations of the SEC
(Title 17, Code of Federal Requiations, Section 240.10b+5), in
that the defendants and others did knowingly and willfully,

directly and indirectly, {a} employ devices, schemes, and

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artifices to defraud; (b} make untrue statements of material fact
and omit to state material facts necessary in order to make the
statemants made, in light of the circumstances under which they
were made, not misleading; and {c) engage in acts, practices, and
courses of business which would and did operate as a fraud and
deceit upon members of the investing public, in connection with
purchases and sales of the securities of Skynet, and by use of
means and instrumentalities of interstate commerce and the mails.

“(Title 15, United States Code, Section 78) {b) and 7att:
Title 18, United States Code, Sections 2 and 3551 et seq.)

COUNT TEN
{Securities Fraud - CNFT)

93, The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

94. In or about and between November 1939 and February
. 2001, both dates being approximate and inclusive, within the
Eastern District of New York and elsewhere, the defendants
JONATHAN WINSTON, ROBERT WINSTON and JOHN FERRARO, together with
others, did knowingly and willfully, directly and indirectly, use
and employ manipulative and deceptive devices and contrivances in
violation of Rule 10b-5 of the Rules and Regulations of the SEC
(Title 17, Code of Federal Regulations, Section 240.10b-5}), in

that the defendants and others did knowingly and willfully,

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directly and indirectiy, {a) employ ‘device; schemes, and
artifices to defraud: {b} make untrue statements of material fact
and omit to state material facts necessary in order to make the
statements made, in light of the circumstances under’ which they
were made, not misleading; and {c} engage in acts, practices, and
courses of business which wovwld and did operate as a fraud and
deceit upon members of the investing public, in connection with
purchases and sales of the securities of CNFT, and by use of
means and instrumentalities of interstate commerce and the mails.

(Title 15, United States Code, Secticn 78j(b) and 78ff;
Title 18, United States Code, Sections 2 and 3551] ef seq. }

COUNTS ELEVEN THROUGH THIRTEEN
{Mail Fraud}

95. The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

96. In or about and between February 1994 and March
1998, both dates being approximate and inclusive, within the
Bastern District of New York end elsewhere, the defendants
JONATHAN WINSTON, JASON COHEN, HUNTER ADAMS, MICHAEL REITER,
GREGG ADAMS, JAMES BILA and ROBERTO MANGIARANO, together with
others, did knowingly and intentionally devise a scheme and
artifice to defraud First United's and Lexington Capital's

customers: and other purchasers of Ashton and IRT stack, and to

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obtain money and property from such customers and purchasers by )
means of materially faise and fraudulent pretenses,
representations and promises, and for the purpose of executing
such scheme and artifice and attempting te de so, caused 4 matter
or thing to be deposited to be sent and delivered by the Fostal
Service, and by private or commercial interstate carrier, and
caused such matter or thing to be delivered by mail or such
carrier according to the direction thereon, and at the place at

which it is directed to be delivered, as described below.

 

 

 

 

CouUNT DATE MATIING TO FROM

ELEVEN 11/11/96 | Confirmation Re. Georgia Garden
Purchase of City, New
25,000 Shares of York
Ashton

TWELVE | 6/20/97: | Confirmation Re. Florida Hauppauge,
Purchase of 5,000 New York
Shares of IRT ,

THIRTERN TAB1/97 Confirmation Re. North Sarden
Purchase of Carolina city, New
11,000 Shares of York

] IRT

 

 

 

 

 

 

 

{Titie 16, United States Code, Sections 1341, 2

and 3551 et seg.}

COUNTS FOURTEEN AND FIFTERH
(Wire Fraud}

oy, The allégations. contained in paragraphs 1 through

76 are realleged and incorporated as'‘if fully set foxth herein.

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99, In or about and between February 1994 and March
1998, both dates being approximate and inclusive, within the
Eastern District of New York and elsewhere, the defendants
JONATHAN WINSTON, JASON COHEN, HUNTER ADAMS, MICHAEL REITER,
GREGG ADAMS, JAMES BILA and ROBERTG MANGIARANO, together with
others, together with others, did knowingly and intentionally
devise a scheme and artifice to defraud First United's and
Lexington Capital's customers and other purchasers of Ashton and
IRT stock, and to obtain money and property from such customers
and purchasers by means of materially false and fraudvient
pretenses, representations and promises, and for the purpose of
executing such scheme and artifice and attempting to do so,
transmitted and caused to be transmitted by means of wire
communication in interstate and foreign commerce signs, signals,

and sounds, as described below,

 

 

 

COUNT DATE WIRE TO FROM

FOURTEEN | 11/11/$6 | Telephone Call Re. | Georgia Garden
Purchase of 25,000 City, New
Shares of Ashton York

FIFTEEN [7/7/97 Telephone Call Re. j Ohio Hauppauge,
Purchase of 40,000 New York

 

 

 

Shares of IRT

 

 

 

 

{Title 18, United States Code, Sections 1343, 2

and 3551 et seq.)

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DONT SIXTEEN *
{Conspiracy to Commit Money Laundering)

99, The allegations contained in paragraphs 1 threugh
76 are realleged and incorporated as if fully set forth herein.

100. In or about and between February 1994 and March
2001, both dates being approximate and inclusive, within the
Eastern Bistrict of New York and elsewhere, the defendants
JONATHAN WINSTON, JASON COHEN, HUNTER ADAMS, MICHAEL REITER,
GREGG ADAMS, BALAN BERKUN, JONATHAN DONESON, RUSSELL EHRENS and
ROBERTO MANGIBRANO, together with others, did knowingly and
intentionally conspire to conduct financial transactions
affecting interstate and foreign commerce which in fact involved
the proceeds of specified unlawful activity, to wit, securities,
mail and wire fraud, knowing that the property involved in such
financial transactions represented proceeds of some form of
unlawful activity, (a} with the intent to promote the carrying on
of the specified unlawful activity, and (b} knowing that the
transactions were designed in whole or in part to conceal and
disguise the nature, location, source, ownership and control of
such proceeds, in violation of Title 18, United States Code,

Secrions 19564) (1}{B} (i) and 1956(a} (1) (B} {i}.

{Title 18, United States Code, Sections 1956(h}) and

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1@ 39102 poe 51 of 50 Paget

COUNT SEVENTEEN *
(Conspizacy to Engage in Unlawful Monetary Transactions)

101. The allegations contained in paragraphs: 1 through
76 axe realleged and incorporated as if: fully'set forth herein.

102. In ox about and between February 1994 and March
2001, both dates being approximate and inclusive, within the
Eastern District of Wew York and elsewhere, the defendants
JONATHAN WINSTON, JASON COHEN, HUNTER ADAMS, MICHAEL REITER,
GREGG ADAMS, ALAN BERKUN, JONATHAN DONESON, RUSSELL EHRENS and
ROBERTO MANGIARANO, together with others, did knowingly and
intentionally conspire to engage in monetary transactions, in and
affecting interstate and foreign commerce, in criminally derived
property that was of a value of greater than $10,000 and was
dexived from specified unlawful activity, to wit, securities,
Mail and wire fraud, knowing that the property involved in such
financial transactions represented the proceeds of some form of
unlawful activity, in violation of Title 18, United Statés Code,

Section 1957.

(Title 18, United States Code, Sections 1956{h} and

GOUNTS BIGHTEEN THROUGH TWENTY-ONE
(Money Laundering}

103. The allegations contained in paragraphs 1 through

76 are realleged.and incorporated as if fully set forth herein.

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104. On or about the dates set'forth below, within the
Bastern District of New York and eisewhere, the defendants
JONATHAN WINSTON, JASON COHEN and - HONTER DANS together with
others, knowing that the property involved in financial
transactions represented the proceeds of some form of unlawful
activity, did knowingly and intentionally conduct financial
transactions affecting interstate and foreign commerce which in
fact involved the proceeds of specified unlawful activity, to
wit, securities, mail and wire fraud, {a) with the intent to
promote the carrying on of the specified uniawful activity and
(b}) knowing that the transactions were designed in whole or in
part to conceal and disguise the nature, location, source,
ownership and.control of such proceeds, in that the defendants
transferred and caused to be transferred funds by wire and check
in the approximate amounts listed below from JONATHAN WINS'TON’ §
ang JASON COHEN'S brokerage account at Smith Barney, account

number 359-22655-10, inte the banks listed below.

 

COUNT DATE RECIPIENT BANK — CHECK / TRANSFER

 

 

 

 

 

 

 

WIRE AMOUNT
EIGHTEEN 3/3/97 BAB $25,000
NINETEEN B/7/97 EAB 565,000

 

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CcouUNnT DATE RECIPIENT BANK CHECK / TRANSFER
WIRE AMOUNT

 

 

TWENTY 3/21/91 ||Bank-of NY © ~~ *|$2,000,000

 

 

 

 

 

 

WENTY-ONE: | - 4/11/97° | Chase Manhattan®” - “ 6850,000 °°

 

(Titie 18, United States Code, Sections
1956fa} {1} (A} (i), 1956¢(a} (1) (B) (4), 2 and 3551 et seq.)

COUNTS TWENTY-TWO THROUGH FORTY
{Unlawful Monetary Transactions)
105. The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.
1606. On or about the dates set forth below, within the
Eastern District of New York and elsewhere, the defendants
JONATHAN WINSTON, JBRSON COHEN and HUNTER ADAMS, together with
others, knowingly and intentionally engaged in monetary
transactions in and affecting interstate and foreign commerce in
criminally derived property that was of.a value of greater than
$10,000 and was derived from specified unlawful activity, to wit,
securities, mail and wire fraud, in that the defendants
transferred and caused to be transferred funds by wire and check
in the approximate amounts listed below from JONATHAN WINSTON’ S

and JASON COHEN'S brokerage account at Smith Barney, account

number 359-22655-10, into the banks listed below.

 

COUNT DATE RECIPIENT BANK WIRE/CHECK AMOUNT

 

 

 

 

 

 

 

TWENTY-TWO 1/31/97 Chase Manhattan $100,000

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COUNT DATE RECIPIENT BANK WIRE/CHECK AMOUNT
TWENTY-THREE 2/11/97 Chase Manhattan $50,000
ea TWENTY-FOUR..: | 2/13/97 ~ . | Chasé Manhattan’ “'; [$25; 000.
” TWENTY-FIVE | 2/13/97 | Chase Manhattan "| ‘$50, 000
TWENTY-SIX 2/14/97 Chase Manhattan $100, 000
TWENTY~SEVEN 3/3/97 EAB $25,000
TWENTY-EIGHT 3/7/97 Chase Manhattan $60,000
TWENTY-NINE 3/7/97 EAB $65,000
THIRTY 3/19/97 GreenPoint Bank | | 875,000
THIRTY-ONE 3/25/37 Chase Manhattan $200,000
THIRTY-TWO 3/25/97 Chase Manhattan $25,000
THIRTY-THREE 3/25/97 | Chase Manhattan $40,000
THIRTY-FOUR 7 3/27/37 Chase Manhattan $150,600
THIRTY-FIVE 3/27/97 Chase Manhattan $150,000
THIRTY-SIX 3/27/97 Chase Manhattan $25,000
THIRTY-SEVEN 4/10/97. | Chase Manhattan $67,000
THIRTY-EIGHT 4/10/97 Chase Manhattan $67,000
“THIRTY-NINE 4/10/97 EAB $75,000
FORTY 4/10/97 GreenPoint Bank $500,000

 

 

{Title 18, United States Code, Sections 1957, 2 and

3551 et sea.)

COUNTS Rly ONE ROUGH FORTY-FIVE
{Unlawful Monetary Transactions)

107. The allegations contained in paragraphs 1 through

76 are realleged and incorporated as if fully set forth herein.

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e © _
108. On or about the dates set ‘forth below, within the

Eastern District of New York and (elsewhere, the defendants

ere . 1

JONATHAN WINSTON, JASON COHEN and, HUNTER ADAMS} ‘together with

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others, knowingly and intentionally engaged in. monetary
transactions in and affecting intexstate and foreign commerce in
criminally derived property that was of a value of greater than
$10,000 and was derived from specified unlawful activity, to wit,
‘securities, mail and wire fraud, in that the defendants
transferred and caused to be transferred funds by wire and check
in the approximate amounts listed below from the Avalon account

at First United into the bank listed below.

 

 

 

 

 

 

COUNT DATE RECIPIENT WIPE /CHECK
BANK AMOUNT
FORTY ONE 2/6/97 EAB $25,000
FORTY-TWO 3/19/97 EAB $50,000
FORTY~THREE 6/19/97 EAB $30,000
FORTY-FOUR 7/24/87 EAB . $20,000
FORTY-FIVE 9/11/97 FAB | $176, 000

 

 

 

 

 

 

{Title 18, United States Code, Sections 1957, 2 and

355] e6t seq. }

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CO FORTY-SIX FORTY SEV
(Money Laundering}

103, The allegations contained in paragraphs 1 through
| 16 are realleged and incorporated as if fully set forth herein.
110, On or about the dates set forth below, within the
Eastern District of New York and elsewhere, the defendants
JONATHAN WINSTON, JASON COHEW and HUNTER ADAMS; together with
others, did knowingly and intentionally transmit and transfer
funds from a place in the United States to and through a place
outside the United States, knowing that the funds involved in the
transmission and transfer represented the proceeds of some form
of unlawful activity, and knowing that such transmission and
transfer was designed in whole or in part to conceal or disguise
the nature, the location, the source, the ownership, and the
control of the proceeds of specified unlawful activity, in that
the defendants transferred and caused to be transferred funds by
wire and check in the approximate amounts listed below from the

E.M.R.A. account at First United into the banks listed below.

 

 

COUNT DATE RECIPIENT CHECK /WIRE
BANE AMOUNT
FORTY-STX $f/23/97 Licyd’s Bank $550,000
PLC

 

 

 

 

 

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COUNT DATE RECIPIENT CHECK/WIRE
BANE AMOUNT
FORTY-SEVEN =| 8/27/97 /|istael .  — ., | $158,576.64
On so  ; Discounts, wo].

 

 

 

 

 

 

(Title 18, Onited States Code, Sections

1956(a) (2) (B) (i}, 2 and 3551 et seq.)

COUNTS FORTY-EIGHT AND FORTY-NINE
(Money Laundering)

111. The allegations contained in Paragzaphs 1 through
76 are realleged and incorporated as if fully set forth herein.

112, On or about the dates set forth below, within the
Eastern District of New York and elsewhere, the defendants
JONATHAN WINSTON, JASON COHEN and HUNTER ADAMS, together with
others, together with others, did knowingly and intentionally
transmit and transfer funds from a place in the United States to
and through a place outside the United States, knowing that the
funds involved in the transmission and transfer represented the
procesds of some form of unlawfud activity, and knowing that such
transmission and transfer was. designed in whole or in part to
conceal or disguise the nature, the location, the source, the
ownership, and the control of the proceeds of specified unlawful
activity, in that the defendants transferred and caused to be

transferred funds by wire and check in the approximate amounts

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listed below from the Univest account at First United into the

bank listed below.

 

 

 

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BANK AMOUNT
FORTY-E1GHT | 7/10/97 Lloyds Bank $602, 000
PLC
FORTY-NINE 9/23/97 . Lloyds Bank . S9R,038.26
PLC

 

 

 

 

 

 

(Title 18, United States Code, Sections

1956 (a} (2) (B) (2), 2 and 3551 et seq.}

COUNTS FIFTY THROUGH FIFTY-THREE
(Money Laundering)

113. The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

114, On ot about the dates set forth below, within the
Rastern District of New York and elsewhere, the defendant MICHAEL
REITER, together with others, knowing that the property involved
in financial transactions represented the proceeds of some form
of unlawful activity, did knowingly and intentionally conduct
financial transactions affecting interstate and foreign, commerce
which in fact involved the proceeds of specified unlawful
activity, to wit, securities, mail and wire fraud, (a) with the
intent to promote the carrying on of the specified uniawful
activity and (b) knowing that the transactions were designed in

whole and in part to. conceal and disguise the nature, location,

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source, ownership and control of such proceeds, in that the

defendant transferred and caused | to be transferred funds by wire

. “and check in’ ‘the. approximate amounts listed below from “Apollo Ss.

ra

account at Citibank into the bank listed below.

 

 

 

 

 

COUNT DATE RECIPIENT CHECK /WIRE
BANK AMOUNT!

FIFTY G/7/97 . Chase | $150,000
Manhattan

FIFTY-ONE 9/3/97 | Chase $250,000

Manhattan ¢

FIFTY-TWO 11/6/97 Chase $300,000
Manhattan

FIFTY-THREE | 12/22/97 Chase $250,000
Manhattan

 

 

 

 

 

 

{Title 18, United States Code, Sections
L956fa) (1) (Ay (i}, 1956(a} {1} (B) (i), 2 and 35512 et seq.)

COUNT _FIFPPY-FOUR
(Money Laundering)

115. The aliegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

116. On or about September 17, 1996, within the
Bastern District of New York and elsewhere, the defendant ROBERTO
MANGIARANO, together with others, knowing that the property
involved in a financial transaction represented the proceeds of
some form of unlawful activity, did knowingly and intentionally

conduct financial transactions affecting interstate and foreign

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commerce which in fact involved the proceeds of specified
uniawiul activity, to wit, securities, maid and wire fraud, fa}
with the intent to promote the carrying on of the specified
unlawful activity and tb) knowing that the transactions Were
designed in whole or in part to conceal and disguise the nature,
location, source, ownership and control of such proceeds, in that
the defendant transferred and caused to be transferred $25,000 in
funds by wire from a nominee's account at Bank of New York into
the defendant ROBERTO MANGIARANO's bank account at Bank of New
York.

(Title 18, United States Code, Sections
1956(a) (1) (A) Ci}, 1956(a)y(1}¢B) (i), 2 and 3551 et seq. }

COUNTS FIFTY-FIVE THROUGH FEETY-SIx
(Money Laundering)

117, The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

118. On ox about the dates set forth below, within the
Eastern District of New York and elsewhere, the defendants HUNTER
RDAMS and ALAN BERKUN, together with others, knowing that the
property involved in financial transactions represented the
proceeds of some form of unlawful activity, did knowingly and
intentionally conduct financial transactions affecting interstate

and foreign commerce which in fact involved the proceeds of

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specified unlawful activity, to wit, secubities, mail and wire
fraud, ta) with the intent to promcte the carrying on of the
specified unlawful activity and {b} knowing that the transactions
were designed in whole or in part to conceal and disguise the
nature, location, source, ownership and control of such proceeds,
in that the defendants transferred and caused to be transferred
funds by wire and check in the approximate amounts listed below
from BERKUN’s account at Pattexson Travis inte an account in the

‘name of ER Associates at the bank listed below.

 

 

 

 

 

COUNT DATE _ | RECIPIENT CHECK / TRANSFER
BANK WIRE AMOUNT
FIFTY-FIVE 7/01/99 Chase - $392,006.69
FIFTY-SIX 7/16/99 Chase $721,212.43
FIFTY-SEVEN ~~ | 9/1/99 Chase $71,507.00
FIFTY-EIGHT 10/15/99 Chase $10,294.15

 

 

 

 

 

 

{Title if, United States Code, Sections
1956 (a) (1) (A) fi), 1956 (a) (1) (B) (4), 2 and 3551 et sed. }

COUNTS FIFTY-NINE THROUGH SixTyY—TWO
(Money Laundering)

119. The allegations contained in paragraphs 1 through
76 are readleged and incorporated as if fully set forth herein.

120. On or about the dates set forth below, within the
Bastern District of New York and elsewhere, the defendant HUNTER

ADAMS, together with others, knowing that the property involved

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in financial transactions represented the‘ proceeds of some form

of unlawful activity, did knowingly, and intentionally conduct
financial: ttansactions affecting interstate and foreign | “pontnexce
which. in fact involved the proceeds of: specified unlawful
activity, to wit, securities, mail and wire fraud, [a) with the
intent to promote the carrying on of the specified unlawful
activity and (b) knowing that the transactions were designed in
whole ox in part to conceal and disguise the nature, location,
source, ownership and control of such proceeds, in that the
defendant transferred and caused to be transferred funds by wire
in the approximate amounts listed below from HUNTER ADAMS’
account at Pacific International, in the name of SMS Holdings,

into an account in the name of Americom at the bank listed below.

 

 

 

 

 

 

 

 

count DATE . PECTPIENT WIRE AMCUNT
BANE

PIFTY-NINE 1/15/99 . Chase $50,000

SIXTY 1/28/99 Chase $50,000

SLXTY-ONE 2/5/99 Chase $50,000

SIXTY-TWO . 3/2/99 Chase $60,000

 

 

 

{Title 18, United States Code, Sections

1956fa)(1} (A) Ci), 1956(a) (1) (B} (i), 2 and 3551 et seq.)

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COUNTS SIXTY-THREE AND SIXTY-FOUR
(Money Laundering)

- 121. The allegations contained’ an) _ Paragraphs 1 | through
“46 are nealleged | and “\neSeponatéa'a as if ‘diy sét forth herein.
122. On or about the dates set forth below, within the
Eastern District of New York and elsevhere, the defendants GREGG
ADAMS and ALAN BERKUN, together with others, knowing that the
property involved in financial transactions represented the
proceeds of some form of unlawful activity, did knowingly and
intentionally conduct financial transactions affecting interstate
and foreign commerce which in fact involved the proceeds of
specified unlawful activity, to wit, securities, mail and wire
._ fraud, {a) with the intent to promote the carrying on of the
specified unlawful activity and {b) knowing that the transactions
wexe designed in whole or in part to conceal and disguise the
nature, location, source, ownership and control of such proceeds,
in that the defendants transferred and caused to be transferred
funds by wire and check in the approximate amounts listed below

from accounts at Chase, in BERKUM's name and the name of ER

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Associates, into GREGG ADAMS's account,. if; the name of Marlowe

Holding Co., at the bank listed below.

 

 

 

 

“| couric s) DATE! - " RECIPIENT s+ CHECK /TRANSFER
BANK — WIRE AMOUNT
SIXTY-THREE 8/28/98 Bank of NY $70,000
SIXTY -FOUR 4/8/99 Bank of NY $261,975

 

 

 

 

 

 

(Title 18, United States Code, Sections
b956(a} (1) (A) (3), 1956(a) (1) (B) (i), 2 and 3551 et seq.)

COUNTS SIXTY-FIVE THROUGH EXTGHTY-SIxX
{Unlawful Monetary Transactions}

123. The allegations contained in paragraphs 1 through
76 are realleged and incorporated 2s if fully set forth herein.

124. On or about the dates set forth below, within the
Rastern District of New York and elsewhere, the defendants HUNTER

. ADAMS and ALAW BERKUN, together with others, together with

others, knowingly and intentionally engaged in monetary
transactions in and affecting interstate and foreign commerce in
criminally derived property that was of a value of greater than
$10,000 and wes derived from specified unlawful activity, to wit,
securities, mail and wire fraud, in that the defendants
transferred and caused to be transferred funds by wire and check
in the approximate amounts listed below from BERKUN's brokerage

account at Gruntal & Co., inte accounts, in BERKUN's name and the

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name of EJR Associates, at the banks listed below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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COUNT e. DATE . aM qin, | CHECR/TRANFER
‘)STXTY-FIVE | 2/5/99" Chase abhatta™ $40°916.17°
SIXTY-SIX 3/22/99 Chase Manhattan | $15,000
SIXTY-SEVEN 3/23/95 Chase Manhattan | $30,000
SIXTY-EIGHT 3/23/99 Chase Manhattan | $52,000
SIXTY-NINE 3/25/99 Chase Manhattan | $25,000
SEVENTY 3/29/99 Chase Manhattan | $266,250
SEVENTY-ONE 3/29/99 Chase Manhattan | $35,000
SEVENTY-TWO 3/31/99 Chase Manhattan | $41,000
SEVENTY-THREE | 4/1/99 Chase Manhattan | $50,000
SEVENTY-FOUR | 4/5/99 Chase Manhattan | $262,000
SEVENTY-FIVE 4/30/99 HSBC $156,279
SEVENTY-SIX 5/5/99 HSBC $151,200
SEVENTY-SEVEN {5/11/99 HSBC $269,045
SEVENTY-EIGHT | 5/12/99 HSBC $115,567
SEVENTY-NINE 5/13/99 HSBC $82, 000
EIGHTY 5/14/99 HSBC $127,958
HIGHTY-ONE 5/17/99 HSBC $36,000
EIGHTY~TWO 5/18/99 HSEC $55,551
EIGHTY-THREE 5/19/99 HSBC $52,613
EIGHTY-FOUR 5/27/99 HSBC $44,208
BIGHTY~FIVE 6/2/99 RSBC $10,833
EIGHTY~SIxX G/9/99 HSBC $235,374
Title 18, United States Code, Sections 1957, 2 and 3351

 
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OUNTS EFIGHTY-SEVEN T UGH “EIGHT Y—-NINE
(Unlawful Monetary Transactions)

. 126. The allegations contained | in paragraphs 1 through
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16 are realleged ‘and incorporated as as: ‘it: aaay set forth herein.
126. On or about the dates set forth below, within the
Eastern District of New York and elsewhere, the defendant ALAN
BERKUN, together with others, knowingly and intentionally engaged
in monetary transactions in and affecting interstate and foreign
commerce in criminally derived property that was of a value of
greater than $10, 000 and was derived from specified unlawful
activity, to wit, securities, mail and wire fraud, in that the
defendant transferred and caused to be transferred funds by wire
and check in the approximate amounts listed below from ALAN
BERKUN's Chase account to a collectable stamp dealer for the

purchase of rare stamps.

 

 

 

 

 

COUNT DATE CHECK NUMBER CHECK AMOUNT
EIGHTY-SEVEN 16/16/98 #2592 $22,000
EIGHTY-EIGHT 11/15/98 #2610 $12,000
EIGHTY-NINE 12/8/38 , #2643 712,000

 

 

 

 

Titie 18, United States Code, Sections 1957, 2 and 3551

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COUNTS NINETY AND NINETY-ONE
(Money Laundering}

127. The allegations contained in paragraphs 1 through
16 are realleged: and incorporated as if fully ‘sist forth herein.

128, On or about the dates set forth below, within the
Eastern District of New York and elsewhere, the defendant ALAN
BERKUN, together with others, together with others, did knowingly
and intentionally transmit and transfer funds from a place in the
United States to and through a place outside the United States,
knowing that the funds involved in the transmission and transfer
represented the proceeds of some form of uniawiui activity, and
knowing that such transmission and transfer was designed in whole
or in part to conceal or disguise the nature, the location, the
source, the ownership, and the control of the proceeds of
specified unlawful activity, in that the defendant transferred
and caused ta be transferred funds by wire and check in the
approximate amounts listed belew from BERKUN's Chase account into

ap account that BERKUW controlled, in the name of Bran Limited,

at the bank listed below,

 

 

COUNT DATE RECIPIENT CHECK /WIRE
BANK . AMOUNT
NINETY 8/25/98 Hambros Bank | $125,000

 

 

 

 

 

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COUNT DATE RECIPIENT CHECK/WIRE
BANK AMOUNT .
NINETY-ONE | 1/25/99 -. |Hambros*Bank # | $108,200 -

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(Pitle 18, United States ‘ode, Sectic $

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1956{(a} (2) (B) (i), 2 and 3551 et seq.)

COUNTS NINETY-TWO AND NINETY-THRER
(Money Laundering)

129. The allegations contained in paragraphs 1 through.
76 are realleged and incorporated as if fuliy. set foxth herein.

130. On or about the dates set forth below, within the
Eastern District of New York and elsewhere, the defendant ALAN
BERKUN, together with others, together with others, did knowingly
and intentionally transmit and transfer funds from a place in the
United States to and through a place outside the United States,
knowing that the funds involved in the transmission and transfer
represented the proceeds of some form of unlawful activity, and
knowing that such transmission and transfer was designed in whole
or in part to conceal or disguise the nature, the location, the
source, the ownership, and the controld of the proceeds of
specified unlawful activity, in that the defendant transferred
and caused to be transferred funds by wire and check in the
approximate amounts listed below from an account at Chase, in the

name EJR Associates, into an account, in the name of Bran

Limited, at the bank listed below-

 

 
 

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couNT DATE RECIPIENT CHECK/WIRE
BANK AMOUNT

NINETY-TWO | 7/21/93. “=| Hambros’ Bank ;° $139,469.76

NINETY-THREE . [9/21/99 “sl Hambros Bank?" |'s180, 000:

 

[Fitle 18, United States Code, Sections

1956(a} (2) (B) (i}, 2 and 3551 et seg.)

COUNTS NIWETY-FOUR THROUGH NINETY-Six
(Money Laundering}

131. The allegations contained in paxagraphs 1 through
?6 are realleged and incorporated as if fully set forth herein,

$32. On or about the dates set forth below, within the
Eastern District of New York and elsewhere, defendants HUNTER
ADAMS and ALAN BERKUW, together with others, did knowingly and
intentionally transmit and transfer funds from a place in the
‘United States to and through a place outside the United States,
fa) with the intent.ta promote the carrying on of specified
unlawful activity and (b) knowing that the funds involved in the
transmission and transfer represented the proceeds of some form
of unlawful activity, and knowing that such transmission and
transfer was designed in whole or in part to conceal or disguise
‘the natuxe, the location, the source, the ownership, and the
control of the proceeds of specified unlawful activity, in that
the defendants transferred and caused to ba ‘transferred funds by

wire and check in the approximate amounts listed below from

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BERKUN's account .at HSBC inte a foreign account at the bank

iisted below.

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‘coUNT DATE. PRECIPrENT. 1 | WIRE AMOUNT
NINETY-FOUR | 5/19/39 UBS AG, ZURICH | $300,000
NINETY-PIVE 5/21/99. UBS AG, ZURICH | $200,000
NINETY-SIX 8/3/99 OBS AG, ZURICH | $161,800

 

 

 

 

{Title 18, United States Code, Sections
1956(a} (2) (B) {2}, 2 and 3551 et seg.}

COUNT NINETY-SEVEN
(Money Laundexing}

133. The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

134. On or about the dates set forth below, within the
Eastern District of New York and elsewhere, the defendants HUNTER
ADAMS and ALAN BERKUN, together with others, did knowingly and
intentionally transmit and transfer funds from a place in the
United States to and through a place outside the United States,
fa} with the intent to promote the carrying on of specified
unlewfui activity and {(b}) knowing that the funds involved in the
transmission and transfer represented the proceeds of some form
of unlawful activity, and knowing that such transmission and
transfer was designed in whole or in part to conceal or disguise

the nature, the location, the source, the ownership, and the

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control of the proceeds of specified Unlawful activity, in that

the defendants transferred and caused to be transferred funds by

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“wie and check’ in‘ “the approximate’ aniounts Listed below from an
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account at Chase, in the name of EJR Associates, into a foreign

account at the bank listed below.

 

 

 

 

 

 

COUNT DATE RECIPIENT CHECK /WIRE
BANK AMOUNT
NINETY-SEVEN 7/19/95 UBS AG, Zuxich | $983,000

 

Title 18, United States Code, Sactions

1956(a) (2) (B) (i}, 2 and 3551 et seq.)

COUNTS NINETY-FIiGHT AND NINETY-NIWE
(Money Laundering)

135. The allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

136. On or about the dates set forth below, within the

- Eastern District of New York and elsewhere, the defendant

JONATHAN WINSTON, together with others, knowing that the property
involved in financial transactions represented the proceeds of
some form of unlawful activity, did knowingly and intentionally
conduct financial transactions aifecting interstate and foreign
commerce which in fact involved the proceeds of specified
unlawful activity, to wit, securities, mail and wire fraud, {a}
with the intent to promote the carrying on of the specified

unlawful activity and (b}) knowing that the transactions were

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designed in whole or in part to concéal amd disguise the nature,

location, source, ownership and control of such proceeds, in that

the defendants transferred and caused to be. transferred funds by

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Wire and check in the approximate amounts listed below from
Fincord Holding Corp's account at Bear Stearns into an account in

the name of Fincord Holding Corp. at the bank listed below,

 

 

 

coun? DATE RECIPIENT CHECK / TRANSFER
BANE WIRE AMOUNT
NINETY~EIGHT 12/21/99 Commercial | $648,000
Bank of NY
NINETY-NINE 12/23/99 Commercial $731,468
Bank of WY

 

 

 

 

 

 

(Title 18, United States Code, Sections
1956(a) (1) (A) (i), 1956(a) (1) (B) (i), 2 and3552 et seq.)

COUNTS ONE-HUNPDRED THROUGH ONE-HUNDRED THREE
(Money Laundering}

137. The. allegations contained in paragraphs 1 through
76 are realleged and incorporated as if fully set forth herein.

136. On er about the dates set forth below, within the
Bastern District of New York and elsewhere, the defendant
JONATHAN WINSTON, together with others, knowing that the property
involved in financial transactions represented the proceeds of
some form of unlawful activity, did knowingly and intentionally
conduct financial transactions affecting interstate and foreign

commerce which in fact involved the proceeds of specified

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unlawful activity, to wit, securities, mail and wire fraud, {a}

with the intent to promote the carxying on of the specified
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nlawful. activity: and (b} knowing that the" tranSactions were .
designed in whole or in part ta conceal and disguise the nature,
location, source, ownership and control of such proceeds, in that
the defendants transferred and caused to be transferred funds by
wire and check in the approximate amounts listed below from
Fincord Holding Corp's account at Founder's Equity Group into an

account in the name of Fincord Holding Corp. at the bank listed

 

 

 

 

 

below.

count | DATE RECIPIENT CHECK / TRANSFER
BANK . 1 WIRE AMOUNT

ONE-HKUNDRED 4/14/00 Commercial $613,383
Bank of NY

ONE-HUNDRED 4/26/00 Commercial $54, 680

ONE - | Bank of NY

ONE-HUNDRED 5/24/00 ‘Commercial ° |$73,763

TWO Bank of WY °

ONE-HUNDRED 6/21/00 Commercial $53,341

THREE 7 Bank of HY :

 

 

 

 

 

 

{Title 1B, United States Code, Sections

4956{a}) (1) (A) (4}, 2956(a){1) {B) (i), 2 and 3552 et seq.)

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FORFELTURE ALLEGATION I | .

134. The allegations contained in Counts Sixteen and
Seventeen are hereby realleged and incorporated as if fully set
forth herein for the purpose of alleging forfeiture pursuant to
the provisions of Title 18, United States Code, Section 982.

140, Pursuant to Title 18, United States Code, Section
ag@faj} (tl), each defendant who is convicted of either of the
effenses set forth in Counts 16 and 17 of this Superseding
indictment shall forfeit to the United States the following
_ property: All right, title, and interest in any and all property,
real and personal, involved in the conspiracy offenses described
in each of these counts for which the defendant is convicted, in
violation of Title 19, United States Cade, Sections 1956 and
t957, and all property traceable to such property, including, but
not limited to, the following: (a) alli money and other property
that was the subject of the money laundering conspiracies alleged
in Counts 16 and 17, in violation of Title 18, United States
Code, Sections 1356 and 1957; {b>} all commissions, fees and other
property obtained as a result of those violations; and {ec}. all
property used in any manner or part to comné t or to facilitate
the commission of those violations.

141, The value of the property subject to forfeiture

described in the foregoing paragraph is approximately

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$100,000,000, and includes, but is not dimited to, the .
defendants’ right, title and interest in the following:

a. the premises and real property located at 401
East 60° Street, Unit 120, New York, New York (the “401 East 60"
Street condominium”);

b, the premises and real property located at 1954
Bay Boulevard, Atlantic Beach, New York (the “1954 Bay Boulevard
property’)?

¢, the premises and real property located at 7000

Island Boulevard, PH-01, Aventura, Florida 33160 [the “7006 |
Island Boywlévard condominium”);

ad. a 54 foot, 6 inch fiberglass huil 1999 self-
propelled vessel, bearing registration number D1090285, named the
“Patrician” (the “Patrician vessel”);

é. funds in the approximate sum of $1,500,000.00
on deposit in Barclays Bank, Douglas, Isle of Man, in an account
in the name of Piasm Settlement, which is administered by Stuart
Smalley & Co., and which is part of the Hatteras Settlement; the
defendant JONATHAN WINSTON is the settior for the Plasm
Settlement {the “Plast Settlement funds") ;

f. funds in the approximate sum of $1,250,000.00
in English pounds sterling and $6,000 Canadian dollars held as

part of the Hatteras Settlement which is administered by Stuart

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Smalley & Co., and which is located within the Isle of Man {the

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"Hatteras Settlement funds").

142, If more than one defendant is convicted of the
offenses alleged in Counts 16 and 17, the defendants so convicted
are jointly and severally liable for the value of all property
involved in such offenses, and all property traceable to such
property.

143, If, by any act or omission of any of the
defendants, any of the property described in paragraphs 140 and

141 above, or any portion thereof;

a. cannot be located upon the exercise of due
diligence;
bh. has been transferred, ot sold to or deposited

with a third party;

c. has been placed heyond the jurisdiction of
the Court;
ad, has been substantialiy diminished in value;
or
é, has been commingled with other property which

eannot be divided without difficuity;
the defendant shall forfeit substitute property, up to the value
of the property described in sub-paragraphs 143{a} through 143(e)
above, pursuant to Title 21, United States Code, Section 833(pi,

as incorporated by Titie 18, United States Code, Section S82 th).

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444, The substitute property identified in the
foregoing paragraph includes, but is not limited to, all right,
title and interest in the premises and real property located at
2329 Halyard Drive, Merrick, New York.

(Title 18, United States Code, Section 941; Titie 21,
United States Code, Section 653.1]

FORFEITURE ALLEGATION IT

145. The allegations contained in Counts Eighteen
through One-Hundred Three are hereby realleged and incorporated
as if fully set forth herein for the purpose of alleging
forfeiture pursuant to the provisions of Title 18, United States
Code, Section 982,

146, Pursuant to Title 18, United States Code, Section
982¢aj} (1), any of the defendants who are convicted of the
offenses alleged in Counts Eighteen through One-Hundred Three, in
violation of Title 18, United States Code, Sections 1956 and
1957, shall forfeit to the United States all property, real and
personal, involved in the offenses alleged in those Counts, and
ali property traceable to such property, including, but not
limited to, the following: fa) all money end other property that
was the subject of the money laundering conspiracies alleged in
Counts 16 and 17, in violation of Titie 18, United States Code,

Sections 1956 and 1957; (b) all commissions, fees and other

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property obtained as a result of those violations; and fe) all’ . ‘
property used in any manner or part to commit or ta facilitate
the commission of those violations.

147, The property subject to forfeiture in the
foregoing paragraph includes, but is not limited to, .the
defendants’ right, title and interest in the following:

a. the premises and ceal property lecated at 4Q1
Fast 60% Street, Unit 12D, New York, New York {the “401 East egt®
Street condominium”) ;

b, the premises and real property located at 1954
Bay Boulevard, Atlantic Beach, New York {the “1954 Bay Boulevard
property");

c. the premises and real property located at 7000
Island Boulevard, PH-01, Aventura, Florida 33160 (the “7000
Island Boulevard condominium”);

d. a54 foot, 6 inch fiberglass hull 1995 self-
propelled vessel, bearing registration number D1030285, named the
“Patrician” (the “Patrician vessel};

e. funds in the approximate sum of $1,500,000. 00
on deposit in Barclays Bank, Douglas, Isle of Man, in an account

in the name of Plasm Settlement, which is administered by Stuart

Smalley & Co., and which is part of the Hatteras Settlement; the

 
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defendant JONATHAN WINSTON is the settler. © Plasm . .
Settlement (the “Plasm Settlement funds”);

f. funds in the approximate sum of $1,250,000.00
in English pounds sterling and $6,000 Canadian dollars held as
part of the Hatteras Settlement which is administered by Stuart
Smalley & Co., and which is located within the Isle of Man (the
"Hatteras Settlement funds").

148, Any of the defendants named in Counts Eighteen
through One-Hundred Three who are convicted of those Counts shall
| be jointly and severally liable for forfeiture of an amount equal
to the money alleged in the count for which said defendant is
convicted, and all property traceable thereto.

149, If, by any act or omission of any of the
defendants, any of the property described in paragraphs 146 and

147, or any portion thereof;

a. cannot be located upon the exercise of due
diligence;
b. has bean transferred, or said to or deposited

with a third party;

G. has been placed beyond the jurisdiction of
the Court:

ad, has been substantially diminished in value;
or

e. has been commingled with other property which

cannot be divided wathout difficulty;

 
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the defendant shall forfeit substitute. property, up to the value
of the property described in sub-paragraphs 149(a} through 149 (e)
above, pursuant to Title 21, United States Code, Section 8$3(p),
as incorporated by Title 18, United States Code, Section 982 (bh).
150. The substitute property identified in the
foregoing paragraph includes, but is not limited toa, ail right,
titie and interest in the premises and real property located at
2329 Halyard Drive, Merrick, New York.
(Title 18, United States Code, Section 981; Title 21,
_ United States Code, Section 853.)

A&A TRUE BILL

 

FOREPERSON

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ALR VINEGRAD i)
VED STATES ATTORNEY
CASTERN DESTRICT OF NEW YORK

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